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                 EXHIBIT B-080
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                   IN THE SUPERIOR COURT OF FULTON COUNTY

                                     ST ATE OF GEORGIA                           FILED IN OFFICE


INRE:                                         )
                                                                                 DEPUTY Cl           or~COURT
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024           ,___r_u1_T~N   COUN[Y, G.:\
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Mark Randall Meadows                          )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.


       COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92 et seq., and in support thereof says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions
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    related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is

    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a specia_lpurpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Mark Randall Meadows, born July 28, 1959, (hereinafter, "the Witness") is a

    necessary and material witness to the Special Purpose Grand Jury's investigation.

    Through both its investigation and through publicly available information, the State

    has learned the following information.

 4. The Witness is known to be affiliated with both former President Donald Trump and

    the Trump Campaign.

 5. From March 31, 2020, to January 20, 2021, the Witness served as Chief of Staff to

    former President Donald Trump and was in constant contact with former President

    Trump in the weeks following the November 2020 election.

 6. On December 21, 2020, the Witness attended a meeting at the White House with

    former President Trump, members of Congress, and others to discuss allegations of

    voter fraud and the certification of electoral college votes from Georgia and other

    states. The Witness confirmed this meeting in a Tweet on December 21, 2020, when

    he stated, "Several members of Congress just finished a meeting in the Oval Office

    with President @rea!DonaldTrump, preparing to fight back against mounting

    evidence of voter fraud. Stay tuned."
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 7. On December 22, 2020, the Witness made a surprise visit to the Cobb County Civic

    Center in Marietta, Georgia, where the Georgia Secretary of State's Office and the

    Georgia Bureau of Investigation were conducting an absentee ballot signature match

    audit. Officials conducting the audit were unaware of the Witness's trip to Georgia

    until shortly before he arrived at the Civic Center. The Witness requested to

    personally observe the audit process but was prevented from doing so because the

    audit was not open to the public.

 8. Between at least December 30, 2020, and January 1, 2021, the Witness sent e-mails to

    United States Department of Justice officials, including Acting Attorney General

    Jeffrey Rosen, making various allegations of voter fraud in Georgia and elsewhere

    and requesting that the Department of Justice conduct investigations into these

    allegations. The e-mails were obtained by the United States Senate Judiciary

    Committee and were released publicly.

 9. On January 2, 2021, former President Donald Trump and members of his team,

    including the Witness, participated in a lengthy telephone call with Georgia Secretary

    of State Brad Raffensperger and others to discuss allegations of voter fraud in

    Georgia. An audio recording of the telephone call was widely broadcast. During the

    telephone call, former President Trump stated to Secretary Raffensperger, "I just want

    to find 11,780 votes." The Witness actively participated in and spoke on the call, and

    the Special Purpose Grand Jury's investigation has revealed that the Witness was

    involved in setting up the call.

 10. The Witness, based on the above, is a necessary and material witness. The Witness

    possesses unique knowledge concerning the logistics, planning, and subject matter of
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    the meeting at the White House on December 21, 2020. The Witnesses possess

    unique knowledge concerning the logistics, planning, and execution of his visit to the

    Cobb County Civic Center on December 22, 2020. The Witness possesses unique

    knowledge concerning the logistics, planning, and subject matter of his e-mails to

    United States Department of Justice officials. The Witnesses possesses unique .

    knowledge concerning the logistics, planning, execution, and subject matter of the

    January 2, 2021, phone call with Georgia Secretary of State Brad Raffensperger. The

    Witness possesses unique knowledge concerning relevant communications between

    the Witness, former President Donald Trump, the Trump Campaign, and other known

    and unknown individuals involved in the multi-state, coordinated efforts to influence

    the results of the November 2020 elections in Georgia and elsewhere. Finally, the

    Witness's anticipated testimony is essential in that it is likely to reveal additional

    sources of information regarding the subject of this investigation.

 11. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 12. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

    unable to be served with process to compel attendance and testimony.

 13. The Witness currently resides in Sunset, Pickens County, South Carolina.

 14. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Tuesday, September 27, 2022, at 9:00 a.m. The District

    Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 15. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to
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    secure the Witness's attendance and testimony, in accordance with the Uniform Act

    to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

    See O.C.G.A. §24-13-90 et seq.

 16. If the Witness comes into the State of Georgia pursuant to this request, directing the

    Witness to attend and testify before the Special Purpose Grand Jury, the laws of this

    State shall give the Witness protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states.

 17. Both Georgia and South Carolina have adopted the Uniform Act to Secure the

    Attendance of Witnesses from Without a State in Criminal Proceedings. See

    O.C.G.A. § 24-13-90; S.C. Code Ann.§ 19-9-10 et seq.
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       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate ofNeed for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. § 24-

13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness will be needed for the number of days specified above,

       Respectfully submitted this the 19th day of August, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       A LANTA JUDICIAL CIRCUIT




                                                       Atlanta Judicial Circuit
                                                       136 Pryor Street Southwest
                                                       Third Floor
                                                       Atlanta, Georgia 30303
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                    Exhibit A
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IN RE: REQUEST FOR
       SPECIAL PURPOSE
        GRAND JURY

              ORDER APPROVi!NGREQUEST FOR SPECIAL PURPOSE
              GRAND JURY PURSUANT TO O.C.G.A. §15-12-100,et seq.

       The District Attorney for the AtlantaJudicial Circuitsubmitted to the judges of the

Superior Comt of Fulton County a requestto impanela specialpurposejury for the purposesset

forth in that request. This request was consideredand approvedby a majority of the total

number of the judges of this Court, as requiredby O.C.G.A.§15-12-I00(b).

       IT IS THEREFORE ORDEREDthat a specialpurposegrand jury be drawn and

impaneledto serve as provided in O.C.G.A.§ 15-12-62.1,15-12-67,and 15-12-100,to

•commenceon May 2, 2022, and continuingfor a period not to exceed 12 months. Such period

shall not include any time periodswhen the supervisingjudge determinesthat the special

purpose grandjury cannot meet for safety or other reasons,or any time periods when nonnal

court operations are suspended by order of the SupremeCourt of Georgia or the Chief Judge of

the Superior Court. The special purpose grandjury shall be authorizedto investigate any and all

facts and circumstancesrelating directly or indirectlyto allegedviolationsof the laws of the

State of Georgia, as set forth in the requestof the DistrictAttorneyreferenced herein above.

       Pursuant to O.C.G.A. § 15-12·10l(a), the HonorableRobert C. I. McBurney is hereby

assigned to supervise and assist the specialpurpose grandjuiy, and shall charge said special

purpose grandjury and receive its reports as providedby law.
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       This authorization shall include the investigationof any overt acts or predicateacts

relating to the subject of the special purposegrandjury's investigativepurpose. The special

purpose grandjury, when making its presentmentsand reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101,may make recommendationsconcerningcriminal prosecutionas it shall see

fit. Furthermore, the provisions ofO.C.G.A. § 15-12-83shall apply.

       This Court also notes that the appointmentof a special purpose grandjury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneledin this Circuit to continue to

be devoted to the considerationof the backlogof criminal matters that has accumulatedas a
result of tile COVID-19 Pandemic.




                              CHRISTOP         S. BRASHER~IEF           JUDGE
                              Superior Courtof Fulton County
                              AtlantaJudicial Circuit
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                     Exhibit B
         Case 1:23-cv-03721-SCJ Document 1-91 Filed 08/21/23 Page 12 of 13



                      OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                  ATIANTAJUDICIALCIRCUIT
                                136PRYORSTREETSW,3RDFLOOR
                                    ATLANTA,GEORGIA30303
!%"111Jr(jJl,(/i;,j                                          TELEPHONE404-612-4639
DistrictAccorney
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     The Honorable Christophel:S. Brasher
     ChiefJudge, Fulton County SuperiorCourt                                  FILED IN OFFICE
     Fulton County Courthouse                                                                        ,.{)
     185CentralAvenue SW, Suite T-8905
     Atlanta, Georgia30303

     January20, 2022

     Dear Chief Judge Brasher:

     I hope this letter finds you well and in good spirits.Please be advisedthat the DistrictAttorney's
     Officehas received information indicatinga reasonableprobabilitythat the State of Georgia's
     administrationof elections in 2020, includingthe State's electionof the Presidentof the United
     States,was subject to possible criminaldisruptions.Our officehas also learned that individuals
     associatedwith these disruptionshave contactedother agenciesempoweredto investigatethis
     matter,includingthe Georgia Secretaryof State,the GeorgiaAttorneyGeneral, and the United
     StatesAttorney's Office for the NorthernDistrictof Georgia,leavingthis office as the sole
     agencywithjurisdiction that is not a potentialwitnessto conductrelated to the matter.As a
     result,our office has opened an investigationinto any coordinatedattempts to unlawfullyalter
     the outcomeof the 2020 electionsin this state.

     We have made efforts to interviewmultiple witnessesand gather evidence,and a significant
     numberof witnesses and prospectivewitnesseshaverefusedto cooperatewith the investigation
     absenta subpoenarequiring their testimony.By way of example,GeorgiaSecretaryof State
     Brad Raffensperger,an essential witnessto the investigation,has indicated that he will not
     participatein an interview or otherwiseoffer evidenceuntil he is presented with a subpoenaby
     my office. Please see Exhibit A, attachedto this Jetter.

     Therefore,I am hereby requesting,as the electedDistrictAttorneyfor Fulton County,pursuant
     to O.C.G.A.§ 15-12-100et. seq., that a special pllrposegrandjury be impaneled for the purpose
     of investigatingthe facts and circumstancesrelatingdirectlyor indirectlyto possible attemptsto
     disruptthe lawful administrationof the 2020 electionsin the State of Georgia. Specifically,a
     specialpwpose grand jury, which will not have the authorityto return an indictment but may
     makerecommendaiionsconcerning criminalprosecutionas it shall see fit, is needed for three
     reasons:first, a special purpose grand jury can be impaneledby the Court for any time period
     requiredin order to accomplish its investigation,whichwill likely exceed a nonnal grandjury
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 term; second, the special purpose grandjury wouldbe empoweredto review this matter and this
 matteronly, with an investigatoryfocus appropriateto the complexityof the facts and
 circumstancesinvolved; and third, the sitting grandjury wouldnot be requiredto attemptto
 addressthis matter in addition to their normalduties.

 Additionally,I am requesting that, pursuantto O.C.G.A.§ 15-12-101,a Fulton CountySuperior
 CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
 investigationand duties.

 rhave attacheda proposed order impanelingthespecialpurposegrandjury for the consideration
 of the Court.




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                c-,,~~-----

-J:,tstrictAttorney, Atlanta Judicial Circuit

 ExhibitA: Transcript of October 31, 202I episodeoflv[eet the Press on NBC News at 26:04
 (videoarchivedat https://www.youtube.com/watch?v=B7IcBRPgt9k)
 ExhibitB: Proposed Order

 cc:
TheHonorableKimberly M. EsmondAdams
 The HonorableJane C. Barwick
The HonorableRachelle Carnesdale
The HonorableThomas A. Cox, Jr.
The HonorableEric Dunaway
The HonorableCharles M. Eaton, Jr.
The HonorableBelinda E. Edwards
The HonorableKelly Lee Ellerbe
The HonorableKevin M. Fanner
The HonorableUral Glanville
The HonorableShakura L. Ingram
The HonorableRachel R. Krause
The HonorableMelynee Leftridge
The HonorableRobert C.I. McBurney
The HonorableRemy M. Newkirk
The HonorableEmily K. Richardson
The HonorableCraig L. Schwall, Sr.
The HonorablePaige Reese Whitaker
The HonorableShermela J. Williams
Fulton CountyClerk of Superior Court.Cathelene'Tina" Robinson
